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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE                                     )       MDL No. 2545
REPLACEMENT THERAPY                                     )       Master Docket Case No. 1:14-cv-1748
PRODUCTS LIABILITY LITIGATION                           )       Honorable Matthew F. Kennelly
-----------------------------------------------------   )
                                                        )
This Document Relates to the Cases                      )
Identified Below                                        )

                    MOTION TO WITHDRAW AS PLAINTIFF’S COUNSEL

         Plaintiff’s counsel, Peter J. Flowers and MEYERS & FLOWERS, LLC, move this Court

for leave to withdraw as counsel for plaintiffs below. In support of this motion, movants state as

follows:

    A. MEYERS & FLOWERS, LLC filed an appearance on behalf of the plaintiffs in the
       following cases:

             1. Bryan Adams (Case No. 1:16-cv-00405);
             2. Anthony Armstrong (Case No. 1:16-cv-00118);
             3. Roger Brooks (Case No. 1:16-cv-11636);
             4. Arthur Caraveo (Case No. 1:15-cv-11355);
             5. Luther Daniel (Case No. 1:15-cv-05157);
             6. Jeffery Janiga (Case No. 1:15-cv-11496);
             7. Ramona Mendez on behalf of Luis Mendez (Case No. 1:16-cv-00907);
             8. Michael Roberts (Case No. 1:15-cv-11788);
             9. Ronald Sciretta (Case No. 1:16-cv-00707);
             10. Dennis Sewell (1:16-cv-00729);
             11. Lee Spears (Case No. 1:16-cv-0054);
             12. Jake Stills (Case No. 1:16-cv-06058);
             13. Martin Valle (Case No. 1:16-cv-01000);
             14. Thomas Willey (Case No. 1:16-cv-00409); and
             15. John Wilson (Case No. 1:16-cv-00464).

    B. MEYERS & FLOWERS, LLC wishes to withdraw its appearance for the above-listed
       plaintiffs. The reasons for the request to withdraw are stated in Exhibit A, an affidavit
       which is being filed as a sealed document only to be viewed by the Court and not to be
       viewed by any counsel. Pursuant to Seventh Circuit Operating Procedure 10(a), MEYERS
       & FLOWERS, LLC requests this Honorable Court to Order Exhibit A be sealed.

    C. Attached to this motion is a Notification of Party Contact Information Form.


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   D. MEYERS & FLOWERS, LLC is sending Notice of this motion to each of the above-listed
      Plaintiffs by U.S. Mail.

      WHEREFORE, movants request that this Court enter an Order withdrawing the

appearance of MEYERS & FLOWERS, LLC as counsel for plaintiffs listed above.

                                        Respectfully submitted,

                                        MEYERS & FLOWERS, LLC

                                        /s/ Frank V. Cesarone__________
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